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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOSE JAVIER VAZQUEZ,                          :
      Plaintiff,                              :
                                              :
       v.                                     :       CIVIL ACTION NO. 20-CV-6573
                                              :
THOMAS S. MCGINLEY, et al.,                   :
    Defendants.                               :

                                             ORDER

       AND NOW, this 25th day of January, 2021, upon consideration of Plaintiff Jose Javier

Vazquez’s pro se Complaint (ECF No. 2), and for the reasons stated in the Court’s

Memorandum, it is ORDERED that:

       1.      The Clerk of Court is DIRECTED to add the following defendants to the caption:

(a) the Commonwealth of Pennsylvania, and (b) the Department of Corrections.

       2.      Vazquez’s claims against Defendant Justice Giovanni O. Campbell are

DISMISSED WITH PREJUDICE pursuant to 28 U.S.C. § 1915A(b)(1) for failure to state a

claim and as legally frivolous.

       3.      To the extent Vazquez raises claims against the Commonwealth of Pennsylvania

and the Department of Corrections, his claims are DISMISSED WITH PREJUDICE pursuant

to 28 U.S.C. § 1915A(b)(1) for failure to state a claim and as legally frivolous.

       4.      The Clerk of Court is directed to TRANSFER forthwith the remainder of the

above-captioned case to the United States District Court for the Middle District of Pennsylvania,

pursuant to 28 U.S.C. §§ 118(b), 1391(b), 1404(a), 1406(a).
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       5.      The Motion to Proceed In Forma Pauperis (ECF No. 1) shall be left to the

discretion of the transferee court.

                                           BY THE COURT:

                                           /s/ Chad F. Kenney

                                           CHAD F. KENNEY, J.




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